                                                                                Motion GRANTED.
                                                                                Hearing reset for
                           UNITED STATES DISTRICT COURT                         9/10/12 at 2:30 p.m.
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       No. 3:10-00163
                                             )       Judge Trauger
KEAIRUS WILSON                               )


                   MOTION TO CONTINUE SENTENCING HEARING

       COMES NOW the Defendant, Keairus Wilson, by and through his undersigned counsel,

and hereby moves this Honorable Court to continue to his Sentencing Hearing from Thursday, July

5, 2012 to a date in the weeks of July 23rd, August 13th or August 20th.. In support hereof,

Defendant Wilson states as follows:

1.     Defendant Keairus Wilson is slated for Sentencing on Thursday, July 5, 2012 at 1:00 p.m.

2.     Due to irreconcilable scheduling conflicts, undersigned counsel will likely be unavailable

       for the presently scheduled sentencing hearing in this matter, and undersigned counsel will

       not have an opportunity to review the revised/amended presentence report with Defendant

       Wilson prior to the sentencing. Undersigned counsel is presently out-of-town, and during

       the week of July 2, 2012, undersigned counsel has Court out-of-county or out-of-district in

       other cases every day that week, including having been subpoenaed to testify at a hearing

       on Friday, July 6, 2012. Today, undersigned counsel has learned that her attendance may

       also be required (ordered) on Thursday, July 5, 2012. Therefore, undersigned counsel

       requests additional time to review the revised presentence report with Defendant Wilson

       and also requests that the sentencing be reset to a date and time within one of the proposed

       weeks.

                                                 1


Case 3:10-cr-00163       Document 1814           Filed 06/29/12    Page 1 of 1 PageID #: 8440
